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COURT OF APPEALS

EIGHTH DISTRICT OF
TEXAS

EL PASO, TEXAS

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  &nbsp;
  ROGELIO MARQUEZ,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,
  &nbsp;
  v.
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  MARIA ESTHER MARQUEZ,
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  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
  Appellee.
  
  
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  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; No. 08-12-00116-CV
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  Appeal from the
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  65th
  Judicial District Court
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  of El
  Paso County, Texas
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  (TC# 2004CM737)
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MEMORANDUM
OPINION

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This appeal is before the Court on its own motion
to determine whether the appeal should be dismissed for want of
prosecution.&nbsp; Finding that Appellant has
not filed a brief or a motion for extension of time to file his brief, we
dismiss the appeal.








This Court possesses the authority to
dismiss an appeal for want of prosecution when the Appellant has failed to file
his brief in the time prescribed, and gives no reasonable explanation for such
failure.&nbsp; Tex. R. App. P. 38.8(a)(1); Elizondo v. City of San
Antonio, 975 S.W.2d 61, 63 (Tex. App. B
San Antonio 1998, no writ).

On June 14, 2012, the Clerk of the Court
notified Appellant that his brief was past due and no motion for extension of
time to file a brief had been received.&nbsp;
The Clerk also informed the parties of the Court’s intent to dismiss the
appeal for want of prosecution unless, within ten days of the notice, a party
responded showing grounds to continue the appeal.&nbsp; No response has been received as of this
date.&nbsp; We dismiss the appeal for want of
prosecution.&nbsp; Tex. R. App. P. 38.8(a)(1), 42.3(b).

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July 31, 2012&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; GUADALUPE
RIVERA, Justice

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Before McClure, C.J., Rivera, J., and Antcliff, J.





